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                     SUPPLEMENTAL DECLARATION OF MELISSA DAVIS



   Pursuant to 28 U.S.C. Section 1746, the undersigned states as follows:

         1.    My name is Melissa Davis. I am over twenty-one years of age and have
   personal knowledge of the matters set forth herein.

          2.    I am Partner at KapilaMukamal, LLP (“KM”), a forensic and insolvency
   advisory CPA firm. I am a Certified Public Accountant, Certified Insolvency Restructuring
   Advisor and a Certified Fraud Examiner and a practitioner addressing forensic accounting
   issues for more than 15 years. KM was retained by the Securities and Exchange
   Commission to analyze the baking activity of Complete Business Solutions Group, Inc.
   d/b/a Par Funding (“Par Funding”).

           3.      On July 23, 2020 I issued a Declaration summarizing certain transfers and
   activity based on my analysis of the Par Funding bank records (“July 23, 2020
   Declaration”). A copy of the July 23, 2020 Declaration is attached as Exhibit A. The
   information in this Declaration is based on my review and analysis of the documents
   identified in the July 23, 2020 Declaration.1

          4.    In addition to the activity I identified in the July 23, 2020 Declaration, I
   determined that from July 2015 to June 2020, Par Funding transferred $42,334,600 to
   Heritage Business Consulting and transferred $42,643,174 to Eagle Six Consulting, Inc.
   from Par Funding Accounts containing commingled Investor Funds.

         5.    During the period July 2015 to June 2020, Par Funding transferred
   $1,097,725 to Broadway Advance, LLC from Par Funding Accounts containing
   commingled Investor Funds.

         6.     Beginning in December 2019 through February 21, 2020, Par Funding
   made a series of transfers to Priority Payment Systems totaling $63,650,827 from the Par
   Funding Accounts containing commingled Investor Funds.

          7.    On February 21, 2020 Par Funding began to make transfers out of the Par
   Funding Accounts which were labeled as “Par Funding Pref.” During the period from
   February 21, 2020 to June 30, 2020, these transfers totaled $45,990,953, of which
   $20,865,953 occurred during the month of June 2020 from the JP Morgan Chase
   accounts. Based on my discussions with the SEC, although labeled as Par Funding Pref,
   these transfers were also payments to Priority Payment Systems from the Par Funding
   Accounts.


   1
    In addition to the documents identified in Exhibit A, I also reviewed the June 2020 bank statements for
   Par Funding Glacier bank accounts to determine the inflows, outflows and ending balance. I also
   reviewed correspondence from JP Morgan and Glacier bank regarding the Par Funding bank account
   balances in July 2020.

                                                                                                              1
                                                                                      1
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         8.      Table 1 summarizes the beginning balances, inflows, outflows and ending
   balances in the Par Funding Accounts for 2020:




          9.    Table 2 summarizes the ending bank account balances in the Par Funding
   Accounts by bank for each month in 2020. The ending balances in July 2020 were less
   than the ending balances as compared to prior months in 2020.




         10.    On July 7, 2020 Par Funding closed the JP Morgan Chase account numbers
   ending in 9118 and 9126. On July 20, 2020 Par Funding closed the JP Morgan Chase
   bank account ending in 9100.2



   2
    Based on correspondence dated July 31, 2020 from JP Morgan Chase. The balances in the JP Morgan
   accounts at the time they were closed was $323,115 and this amount is not included within the totals in
   Table 2. Only the Glacier accounts remained opened as of July 31, 2020.

                                                                                                         2
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                            DECLARATION OF MELISSA DAVIS

   Pursuant to 28 U.S.C. Section 1746, the undersigned states as follows:

         1.    My name is Melissa Davis. I am over twenty-one years of age and have
   personal knowledge of the matters set forth herein.

          2.    I am Partner at KapilaMukamal, LLP (“KM”), a forensic and insolvency
   advisory CPA firm. I am a Certified Public Accountant, Certified Insolvency Restructuring
   Advisor and a Certified Fraud Examiner and a practitioner addressing forensic accounting
   issues for more than 15 years.

          3.     KM was retained by the Securities and Exchange Commission (“the
   Commission”), which asked me to review the following financial materials for purposes of
   issuing this Declaration:

                a. Bank records, signature cards and accounting opening documents for
                   Complete Business Solutions Group d/b/a Par Funding “Par Funding”
                   (“Par Funding or CBSG”) bank accounts (“Par Funding Accounts”) listed
                   in Table 1:




                b. Bank Records for Fidelis Financial Planning, LLC (“Fidelis”) for the
                   period July 2015 to June 2020 (“Fidelis Accounts”) listed in Table 2:




                                                                                          1
                                                                             A
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                c. Par Funding investor Promissory Notes and Security Agreements, and

                d. CamaPlan Self Directed IRA (“CamaPlan”) transaction schedules.

         4.     The information contained in paragraphs 5 to 20 are based on my review
   and analysis of the documents identified in paragraph 3.

          5.    The signature cards and account opening documents for the Par Funding
   bank accounts identified in Table 1 above reflect that Lisa McElhone is an authorized
   signatory on each Par Funding bank account.

         6.    From July 2015 until June 2020, the Par Funding Accounts show a total of
   $119,836,389 in incoming funds from individuals or IRA self-directed accounts who have
   executed security agreements or promissory note with CBSG.

          7.      From July 2015 until June 2020, the Par Funding Accounts show a total of
   $4,678,425 in incoming funds from individuals or IRA self-directed accounts or entities
   who have similar names as the investors referred to in ¶6 or, the activity appears to be
   investor activity.

          8.     Collectively these incoming funds, totaling $124,514,814, are referred to in
   this Declaration as “Investor Funds”. The Investor Funds were commingled in the Par
   Funding Accounts with funds from other sources including the Par Funding business
   operations. I determined the following as it relates to the Investor Funds:

                a. $92,460,225 of these Investor Funds were received by Par Funding
                   between July 2015 and December 2017.

                b. $32,054,589 of these Investor Funds were received by Par Funding
                   between January 2018 and June 2020.

                c. $15,374,950 of these Investor Funds were received by Par Funding from
                   CamaPlan accounts between July 2015 and June 2020.

          9.     The Commission identified certain entities that are referred to as Agent
   Funds. I determined that there were incoming funds in the form of wire transfers and
   deposits to the Par Funding Accounts from the Agent Funds totaling $367,884,080 during
   the period July 2015 to June 2020 and there were incoming funds in the form of wire
   transfers and deposits to the Par Funding Accounts from the Agent Funds totaling
   $357,104,247 during the period from January 2018 to June 2020.

          10.   The total incoming Investor Funds and Agent Funds Par Funding received
   during the period July 2015 to June 2020 totals $492,398,894.




                                                                                           2
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         11.    The Par Funding bank accounts reflect the following information with
   respect to the entities wiring or otherwise sending funds to Par Funding beginning in
   January 2018:

   Table 3

              Time Period                          Entity Name                     Total Amount
                                                                                 Entity Transferred
                                                                                  to Par Funding
                                                                                     Accounts

       February 2018 – July 2019        ABFP Income Fund1                       $25,487,690

       August 2018 – November ABFP Income Fund 2                                $13,252,600
       2019

       May 2018 – December 2019         Fidelis Financial Planning              $11,603,000

       April 2019 – January 2020        Retirement Evolution Group              $6,500,000

       June 2018 – July 2019            Retirement Evolution Income $1,825,000
                                        Fund



         12.    Between July 2015 and October 2019, Par Funding transferred
   approximately $11.3 million to McElhone directly from Par Funding Accounts containing
   commingled Investor Funds.

         13.    Between July 2019 and October 2019, Par Funding transferred
   approximately $1.8 million to ALB Management from Par Funding Accounts containing
   commingled Investor Funds.

         14.      Between July 2016 and April 2019, Par Funding transferred approximately
   $4.9 million to Beta Abigail from Par Funding Accounts containing commingled Investor
   Funds.

          15.   Between February 2017 and November 2019, Par Funding transferred
   approximately $9.5 million to New Field Ventures, LLC from Par Funding Accounts
   containing commingled Investor Funds.




   1
     This amount includes all incoming funds with the payor description “ABFP Income Fund, LLC” in the
   transaction support. There are additional incoming funds where the transaction support payor name is
   “ABFP Income Fund”. Since there are multiple entities that begin with the name “ABFP Income Fund” I
   did not include those amounts which total $16,547,000 within Table 3.

                                                                                                          3
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         16.    Between July 2018 and September 2018, Par Funding transferred about
   $14.3 million to the LME 2017 Family Trust from Par Funding Accounts containing
   commingled Investor Funds.

        17.   The Par Funding Accounts reflect the following information with respect to
   money Par Funding transferred to the entities set forth below:

   Table 4

                    Time Period                              Entity Name                     Total Amount
                                                                                           Transferred From
                                                                                             Par Funding
                                                                                               Accounts

       August 2016 – January 2018                     Abetterfinancialplan.com $1,914,045

       February 2019 – October 2019                   ABFP Income Fund                   $12,735,528

       February 2019 – November 2019                  ABFP Income Fund 2                 $6,537,788

       June 2018 – May 2020                           Fidelis Financial                  $4,675,066
                                                      Planning

       July 2018 – December 2019                      Retirement Evolution               $2,099,583
                                                      Income Fund



         18.    The Par Funding Accounts reflect that from July 2015 to June 2020 Par
   Funding paid $5,909,322 to law firms.

         19.    As of May 29,2020, the balance in the Par Funding Glacier Bank account
   was $6,763,578.2 As of June 30, 2020 the balance is the Par Funding JP Morgan Chase
   accounts total $82,319 after transfers labeled “Par Fund Pref” totaling $20,865,953 were
   made out of the JP Morgan accounts during the month of June 2020.

           20.   Based on my review of the Fidelis Bank Account records identified in Table
   2, I determined that Fidelis received $8,726,200 from parties who appear to be investors
   during the period April 2018 through June 2020.

         21.     I reserve the opportunity to revise this Declaration based on additional
   information that may become available.

                                                             ***********



   2
       The June 2020 bank statement for Glacier Bank account was not available as of the date of this Declaration.

                                                                                                                     4
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